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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

In re:                                              Case No.: 6:18-bk-06338-CCJ
                                                    Chapter 7
         Manuel Menize, Jr. and
         Ruth Elizabeth Menize,
                       Debtors.
                                     /


              MOTION FOR RELIEF FROM THE AUTOMATIC STAY
   NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

               Pursuant to Local Rule 2002-4, the Court will consider this
               motion, objection, or other matter without further notice or
               hearing unless a party in interest files a response within
               twenty-one (21) days from the date set forth on the proof of
               service attached to this paper plus an additional three days
               for service. If you object to the relief requested in this paper,
               you must file your response with the Clerk of the Court at
               400 West Washington Street, Suite 5100, Orlando, Florida
               32801 and serve a copy on the Movant’s attorney, Leslie
               Rushing, Esq., Quintairos, Prieto, Wood & Boyer P.A., 1475
               Centrepark Blvd., Suite 130, West Palm Beach, Florida
               33401, and any other appropriate persons within the time
               allowed.

               If you file and serve a response within the time permitted, the
               Court may schedule and notify you of a hearing, or the Court
               may consider the response and may grant or deny the relief
               requested without a hearing. If you do not file a response
               within the time permitted, the Court will consider that you
               do not oppose the relief requested in the paper, will proceed
               to consider the paper without further notice or hearing, and
               may grant the relief requested.

         COMES NOW, QUICKEN LOANS INC., Movant, by and through its attorney,

Leslie Rushing of Quintairos, Prieto, Wood & Boyer, P.A., and respectfully moves this

Court for an order granting Movant relief from stay and, to recover and dispose of its real

property located at 1949 McKinley Avenue, Melbourne, Florida 32935 purchased by
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Debtors, financed by Movant, and more particularly described in the documents attached

hereto. Grounds for this motion are as follows:


       1.      Debtors filed a voluntary Chapter 7 Bankruptcy on October 12, 2018.

       2.      Pursuant to the provisions of 11 U.S.C. § 362(d)(1), upon request of a

party in interest, the court shall grant relief from the stay for cause including lack of

adequate protection of an interest in property.


       3.      QUICKEN LOANS INC., Movant, is the holder of a Note and Mortgage

for the real property located at 1949 McKinley Avenue, Melbourne, Florida 32935 (copies

of Note and Mortgage are attached hereto as Composite Exhibit “A”).


       4.      The aforementioned Mortgage gives Movant a first mortgage lien position

on said property, more specifically described as:


       LOT 13, BLOCK “L”, BOWE GARDENS SECTION “B”, ACCORDING TO THE

       PLAT THEREOF, RECORDED IN PLAT BOOK 12, PAGE 34, OF THE PUBLIC

       RECORDS OF BREVARD COUNTY, FLORIDA.


       5.      Debtor has defaulted under the terms of the Note and Mortgage by failing to

make regular payments when due and owing pursuant to Note and Mortgage. The account

is due for the August 1, 2018 payment. Attached hereto as Exhibit “B” is an Affidavit in

support of this statement.


       6.       There remains due and owing on the Note and Mortgage referenced in

paragraph three hereof, the principal balance of $152,516.09 as of October 17, 2018, plus



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interest, which does not reflect attorney fees and costs associated with the filing of this

Motion for Relief from the Automatic Stay.

       7.       That upon information and belief, pursuant to Lake County Property

Appraiser, the value of the property is approximately $116,320.00. Attached hereto as

Exhibit “C”.


       8.       The property is listed as non-exempt on Schedule C and is listed as

surrendered on the Debtor’s Statement of Intentions.


       9.       Movant is not adequately protected as there is no equity in the property and

no payments are being made by Debtor(s).


       10.      That Movant is entitled to relief from stay to recover possession of the

property and liquidate its security interest as it lacks adequate protection in the bankruptcy.

       11.      Pursuant to 11 U.S.C. § 362(d)(2)(A), Debtor has no equity in the Property;

and pursuant to § 362(d)(2)(B), the Property is not necessary for an effective reorganization

as this is a Chapter 7 case.


       WHEREFORE, Movant, QUICKEN LOANS, INC., prays this Honorable Court

order the following:


        A. The automatic stay of 11 U.S.C. § 362(a) be terminated; and

        B. Permitting Movant to offer and provide Debtors with information regarding a

             potential Forbearance Agreement, short sale, deed in lieu, loan modification,

             Refinance Agreement, or other loan workout/loss mitigation agreement, and to

             enter into such agreement with Debtors without further order of the court; and

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       C. To allow Movant (and any successors or assigns) to proceed under applicable

          non-bankruptcy law to enforce its remedies to foreclose upon and obtain

          possession of the Property; and

       D. That the Order is binding and effective despite any conversion of this

          bankruptcy case to a case under any other chapter of Title 11 of the United

          States Code; and

       E. Waive the 14-day stay requirement; and

       F. For attorney fees and costs and any other further relief the Court may deem just

          and equitable.




                                            Respectfully submitted,

Dated: 1RYHPEHU, 2018                           /s/ Leslie Rushing
                                             Leslie Rushing, Esq.
                                             Florida Bar No. 98106
                                             Quintairos, Prieto, Wood & Boyer, P.A.
                                             1475 Centrepark Blvd., Suite 130
                                             West Palm Beach, FL 33401
                                             Telephone: (561) 686-1880 x 1311
                                             Fax: (561) 686-1886
                                             Attorney for Quicken Loans Inc.
                                             Primary Email:
                                             leslie.rushing@qpwblaw.com
                                             Secondary Email:
                                             flmdbknotices@qpwblaw.com




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                              CERTIFICATE OF SERVICE

         I certify that I have caused to be served a copy of the foregoing Motion for Relief,
by first class mail, postage prepaid and/or by CM/ECF electronic filing upon the parties
listed below.

Dated: 1RYHPEHU, 2018                           /s/ Leslie Rushing
                                              Leslie Rushing, Esq.
                                              Florida Bar No. 98106

Copies Furnished To:

By CM/ECF Receipt:

J Christopher Crowder
Faro & Crowder PA
1801 Sarno Road, Suite 1
Melbourne, FL 32935
Email: JCrowder@Farolaw.com

Trustee
Arvind Mahendru
5703 Red Bug Lake Road
Suite 284
Winter Springs, FL 32708

U.S. Trustee
United States Trustee - ORL7/13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801

By First Class Mail:

Manuel Menize, Jr. and
Ruth Elizabeth Menize
1949 McKinley Ave.
Melbourne, FL 32935




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